
15 N.Y.2d 740 (1965)
Joseph D. Onofrio et al., Suing on Behalf of Themselves and All Other Members of Playboy Club of New York, Inc., Similarly Situated, Respondents,
v.
Playboy Club of New York, Inc., Appellant, et al., Defendants.
Court of Appeals of the State of New York.
Argued January 5, 1965.
Decided January 14, 1965.
Milton Pollack, Samuel N. Greenspoon and Francis E. Koch for appellant.
Anthony F. Lo Frisco, Paul A. Victor, John D. Kousi and Donald G. McCabe for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS and BERGAN. Judges BURKE and SCILEPPI dissent and vote to affirm upon the prevailing opinion at the Appellate Division.
Order reversed, with costs in this court and in the Appellate Division, and that of Special Term reinstated upon the dissenting opinion at the Appellate Division. Question certified answered in the affirmative. No opinion.
